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                      UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF TEXAS
                                                                                            i- i .uu
                                                                                     Texas Ea fprr
  CRAIG CUNNINGHAM,                                §
  Plaintiff,                                       §
                                                   §
  V.                                               §
                                                   § Civil Case No, 1         £, 1     ~j
  Jeff Lakes, Ramsey Debt Relief, LLC, aka         §
  Ramsey Services, LLC, National                   §
  Consolidated Services, LLC, Chandler             §
  Construction, LLC, Cori L. Marx                  §
  Defendant




                                 Plaintiffs Ori inal Complaint


                                              Parties

  1. The Plaintiff is Craig Cunningham and natural person and was present in Texas for all

       calls in this case in Collin County.

  2. Jeff Lake is CEO and corporate officer for all of the entities named by the Plaintiff in

       this case. He can be served at 3922 E University Dr., Ste 6 Phoenix, AZ 85034 or

       5105 W Winston Dr., Laveen, AZ 85339.

  3. Ramsey Services, LLC is a Wyoming Corporation operating out of Nevada with a

       registered agent of Registered Agents, Inc., 401 Ryland St., Ste 200-A, Reno, NV

       89502.

  4. National Consolidated Services, LLC is a Wyoming Corporation operating out of

       Nevada with a registered agent of Registered Agents, Inc., 401 Ryland St., Ste 200-A,

       Reno, NV 89502.

  5. Chandler Construction, LLC is a Wyoming Corporation operating out of Nevada with
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      a registered agent of Registered Agents, Inc., 401 Ryland St., Ste 200-A, Reno, NV

      89502.

   6. Cori L. Marx is a Colorado Attor ey who can be served at 9101 Harla Street, ste

      255, Westminster, CO 80031

   7. John/Jane Does 1-4 are other liable parties currently unknown to the Plaintiff.

                                 JURISDICTION AND VENUE

   8. Jurisdiction. This Court has federal-question subject matter jurisdiction over

      Plaintiff s TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal

      statute. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012). This Court has

      supplemental subject matter jurisdiction over Plaintiffs claim arising under Texas

      Business and Commerce Code 305.053 because that claim: arises from the same

      nucleus of operative fact, i.e.. Defendants telemarketing robocalls to Plaintiff; adds

      little complexity to the case; and doesn’t seek money damages, so it is unlikely to

      predominate over the TCPA claims.

  9. Personal Jurisdiction. This Court has general personal jurisdiction over the

      defendant because they have repeatedly placed calls to Texas residents, and derive

      revenue from Texas residents, and the sell goods and services to Texas residents,

      including the Plaintiff.

  10. This Court has specific personal jurisdiction over the defendants because the calls at

      issue were sent by or on behalf of Jeff Lakes, Ramsey Services, LLC, National

      Consolidated Services, LLC, and Chandler Construction, LLC to Texas Residents,

      specifically the Plaintiff in this case.

  11. Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(l)-(2)
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   because a substantial part of the events giving rise to the claims the calls and sale of

   goods and services directed at Texas residents, including the Plaintiff occurred in

   this District and because the Plaintiff resides in this District. The Plaintiff was

   residing in the Eastern District of Texas when he recieved a substantial if not every

   single call from the Defendants that are the subject matter of this lawsuit.

   THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. §

   227

12. In 1991, Congress enacted the TCPA in response to a growing number of consumer

   complaints regarding telemarketing.

13. The TCPA makes it unlawful to make any call (other than a call made for emergency

   purposes or made with the prior express consent of the called party) using an

   automatic telephone dialing system or an artificial or prerecorded voice ... to any

   telephone number assigned to a ... cellular telephone service. 47 U.S.C. §

   227(b)(l)(A)(iii).
14. The TCPA makes it unlawful to initiate any telephone call to any residential

   telephone line using an artificial or prerecorded voice to deliver a message without

   the prior express consent of the called party, unless the call is initiated for emergency

   purposes, is made solely pursuant to the collection of a debt owed to or guaranteed by

   the United States, or is exempted by rule or order of the Federal Communication

   Com ission (“FCC”). 47 U.S.C. § 227(b)(1)(B).

15. The TCPA provides a private cause of action to persons who receive calls in violation

   of § 227(b). 47 U.S.C. § 227(b)(3).

16. Separately, the TCPA bans making telemarketing calls without a do-not-call policy
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   available upon demand. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)(1).1

17. The TCPA provides a private cause of action to persons who receive calls in

   violation of § 227(c) or a regulation promulgated thereunder. 47 U.S.C. § 227(c)(5).

18. According to findings of the FCC, the agency vested by Congress with authority to

   issue regulations implementing the TCPA, automated or prerecorded telephone calls

   are a greater nuisance and invasion of privacy than live solicitation calls and can be

   costly and inconvenient.

19. The FCC also recognizes that wireless customers are charged for incoming calls

   whether they pay in advance or after the minutes are used. In re Rules and

   Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC Red. 14014,

   14115 165 (2003).

20. The FCC requires prior express written consent for all autodialed or prerecorded

   telemarketing robocalls to wireless numbers and residential lines. In particular: [A]

   consumer s written consent to receive telemarketing robocalls must be signed and be

   sufficient to show that the consumer: (1) received clear and conspicuous disclosure

   of the consequences of providing the requested consent, i.e., that the consumer will

   receive future calls that deliver prerecorded messages by or on behalf of a specific

   seller; and (2) having received this information, agrees unambiguously to receive

   such calls at a telephone number the consumer designates. In addition, the written

   agreement must be obtained without requiring, directly or indirectly, that the

   agreement be executed as a condition of purchasing any good or service.

21. In the Matter of Rule & Regulations Implementing the Tel. Consumer Prot. Act of


1 See Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017)
(codifying a June 26, 2003 FCC order).
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   1991,27 FCC Red. 1830,1844 33 (2012) (footnote and inte al quotation marks

   omitted). FCC regulations generally establish that the party on whose behalf a

   solicitation is made bears ultimate responsibility for any violations. In the Matter of

   Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, 10 FCC

   Red. 12391, 12397 13 (1995).

22. The FCC confirmed this principle in 2013, when it explained that a seller ... may be

   held vicariously liable under federal common law principles of agency for violations

   of either section 227(b) or section 227(c) that are committed by third-party

   telemarketers.” In the Matter of the Joint Petition Filed by Dish Network, LLC, 28

   FCC Red. 6574, 6574 1 (2013).

23. Under the TCP A, a text message is a call. Satterfield v. Simon & Sch ter, Inc., 569

   F.3d 946, 951-52 (9th Cir. 2009).

24. A corporate officer involved in the telemarketing at issue may be personally liable

   under the TCPA. E.g., Jackson Five Star Catering, Inc. v. R ason, Case No. 10-


   10010,2013 US. Disk LEXIS 159985, at *10 (E.D. Mich. Nov. 8,2013) (“[M]any

   courts have held that corporate actors can be individually liable for violating the

   TCPA where they had direct, personal participation in or personally authorized the

   conduct found to have violated the statute. (internal quotation marks omitted));

   Maryland v. Universal Elections, 787 F. Supp. 2d 408, 415- 16 (D. Md. 2011) ( If

   an individual acting on behalf of a corporation could avoid individual liability, the

   TCPA would lose much of its force”).

                    The Texas Business and Commerce Co e 305.053

25. The Texas Business and Commerce code has an analogus portion that is related to the
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     TCPA and was violated in this case.

 26. The Plaintiff may seek damages under this Texas law for violations of 47 USC 227 or

     subchapter A and seek $500 in statutory damages or $1500 for willful or knowing

     damages.


                                 FACTUAL ALLEGATIONS

 27. Rachel with Card Services is the bane of the existance of many consumers. These are

     calls long since prosecuted by the FTC that make fraudulent, misleading, false

     promises and exaggerated claims to consumers. These scams have taken place for

    years and continue to this day. Jeff Lakes is the ring leader of one of these scam

     operations and has directed this scam to continue in the face of consumer complaints

     for years.


        Jeff Lakes and Ramsey Services, LLC aka Ramsey Debt Relief, Chandler

         Construction, LLC and Nation l Consolidated Services, LLC calls to the

                                            Plaintiff

 28. Mr. Cunningham received multiple calls from a variety of spoofed caller ID s that

    contained a pre-recorded message and were initiated using an automated telephone

    dialing system. The calls were on behalf of Jeff Lakes, Ramsey Debt Relief, LLC, aka

    Ramsey Services, LLC, National Consolidated Services, LLC, Chandler

    Construction, LLC.

 29. Starting in 2016, the Plaintiff recieved multiple calls from multiple spoofed and non¬

    working caller ID s all designed to trick consumers into picking up the phone by

    using false, misleading, and fraudulent caller ID s. These calls were not related to an

    emergency purpose or any
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  30. This i Lisa Storm calling in reference of all your Visa and Master Credit cards.

     Congratulations. You have been qualifiedfrom Experian to get relief from your

     payments. Please press 1 to get relief This call was from 615-331-7782 to 615-331-

     7262 on 10/2/2018.

   1. The 7782 number is a non-working number and was picked specifically because it is

     very similar to the Plaintiffs actual phone number of 7262 and is called

      Neighborhood spoofing designed to trick consumers into picking up the call as it

     appears to be a local call. This call contained a pre-recorded message after a 3-4

     second pause of dead air. Upon further conversation with the representative who had

     a thick foreign accent and sounded as if he was calling from overseas, the Plaintiff

     was transferred live to a verification rep and then finally to an agent who stated he

     was with Ramsey Debt relief.

  32. Interestingly enough, when the Plaintiff spoke with the “verification” rep, who

     sounded as if they were a native English speaker from the USA, and the verifier

     recorded a call and claimed their number was 888-353-3950, which is a lie as it is a

     non-working number and stated that there was a one time processing fee of $695 and

     stated that they are a 3rd party company that works with all major lenders and is not

     affiliated with the banks and are not with Visa or Mastercard or the agent that

     transferred the call to them walking back their previous claims of being with Visa and

     Mastercard and Experian.

  33. The Plaintiff called and spoke with Jeff Lakes on October 2nd, 2018 regarding the

     illegal telemarketing calls being placed to him and even played one of the call

     recordings for Jeff Lakes and emailed the application for services with Ramsey Debt
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     Relief. Jeff admitted that he paid for telemarketing activities and claimed to work

     with multiple marketers. Jeff even stated that I hate those calls in reference to

     automated robo calls.

  34. Hi this is Alice from Visa card services calling about your credit card account. It

     appear that you are now eligible for a significantly lower interest rate on your

     account, however, if you do not respond your card will be cancelled, so please press

     1 now to be transferred to a live representative who can assist you in securing your

     lower interest rate. Again to talk to a representative, press 1 now


  35. This call was from 800-945-2000, which is spoofed and is actually the caller ID for

     Chase Credit card services indicating an intent to mislead consumers into believing

     that they were receiving a call from Chase credit cards when in reality it was a debt

     relief company. The pre-recorded message was designed to create a false sense of

     urgency by indicating that the consumer s credit card would be closed if they didn t

     press 1.

  36. The Plaintiff recieved calls on 10/3/2018 and 10/4/2018 among other dates from 800-

     945-2000 which were transfered to Ramsey Debt Relief once again even after

     speaking directly with Jeff Lakes to complain about the illegal telemarketing calls and

     Jeff Lakes himself admitted that I hate those calls referring to the Rachel with

     card services type debt relief calls.

  37. The Plaintiff has documented at least 17 calls from 800-945-2000 to his cell phone

     615-331-7262 and has an additional 5 calls from 615-331-7782, 323-329-5648 three

     times, and 31008 for a total of not less than 22 calls by or on behalf of Jeff Lakes and

     Ramsey Debt Relief Ramsey Services.
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  38. A representative of Ramsey Debt Relief stated that the corporation as actually

     incorporated in Nevada when asked by the Plaintiff and stated that attorney Cori L.

     Marx whose name and signature appears on the application document was licensed

     out of Arizona, but later claimed it was Colorado.

  39. Each and every call placed on behalf of and for the benefit of Cori L. Marx. She was

     paid by Jeff Lakes to assist in the debt relief program.

  40. Mr. Cunningham has a limited data plan. Incoming text messages chip away at his

     monthly allotment.

  41. Mr. Cunningham has limited data storage capacity on his cellular telephone.

     Incoming calls from Jeff Lakes and his related entities consumed part of this capacity.

  42. No emergency necessitated the calls

  43. Each call was sent by an ATDS.

         Ramsey Services LLC aka Ramsey Debt Reliefs and Willful Violations of

                                  Telemarketing Re ulations

 44. Mr. Cunningham asked for an internal do-not-call policy

 45. Jeff Lakes never sent Mr. Cunningham any do-not-call policy.

 46. On information and belief, Jeff Lakes, National Consolidated Services, LLC, Ramsey

     Services, LLC, and did not have a written do-not-call policy while it was sending Mr.

     Cunningham text messages.

 47. On information and belief, Jeff Lakes did not train its agents engaged in

     telemarketing on the existence and use of any do-not-call list.

 48. Jeff Lakes calls did not provide Mr. Cunningham with the name of the individual

     caller or the name of the person or entity on whose behalf the call was being made.
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       Jeff Lakes Control over Ramsey Debt Relief, LLC, aka Ramsey Services, LLC,

       National Consolidated Services, LLC, Chandler Construction, LLC„ Including

       its Illegal Robocalling and Telemarketing

   49. At all times relevant to the claims alleged herein, Jeff Lakes was the sole corporate

       officer and executive in charge of Ramsey Debt Relief, LLC, aka Ramsey Services,

       LLC, National Consolidated Services, LLC, Chandler Construction, LLC. Each and

       every call was placed on behalf of the corporate entites o ned by Jeff Lakes. Jeff

       Lakes co-mingles funds and uses these entities as alter egos of each other.

   50. Jeff Lakes is Ramsey Debt Relief, LLC, aka Ramsey Services, LLC, National

       Consolidated Services, LLC, Chandler Construction, LLC, incorporator.

    51. Jeff Lakes was aware that Ramsey Debt Relief, LLC, aka Ramsey Services, LLC,

       National Consolidated Services, LLC, Chandler Construction, LLC, was sending

       automated, telemarketing text messages en masse to people, including Plaintiff, who

       had not requested to be contacted by Ramsey Debt Relief, LLC, aka Ramsey

       Services, LLC, National Consolidated Services, LLC, Chandler Construction, LLC.

    52. As Ramsey Debt Relief, LLC, aka Ramsey Services, LLC, National Consolidated

       Services, LLC, Chandler Construction, LLC, senior-most executive, Jeff Lakes had

       the power to stop these spam campaigns.

   53. As Ramsey Debt Relief, LLC, aka Ramsey Services, LLC, National Consolidated

       Services, LLC, Chandler Construction, LLC s, senior-most executive, Jeff Lakes had

       the po er to fire the managers and employees taking part of the day-to-day operations

       of these illegal robocalling operations.

   54. Instead, Jeff Lakes allowed the calls to continue and the responsible managers to
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       keep their jobs despite his knowledge of frequent do-not-call complaints from

       recipients of these messages, including the Plaintiff

               Violations of the Texas Business and Commerce Code 305.053

   55. The actions of Jeff Lakes and his corporations Ramsey Debt Relief, LLC, aka

       Ramsey Services, LLC, National Consolidated Services, LLC, Chandler

       Construction, LLC, violated the Texas Business and Commerce Code 305.053 by

       placing automated calls to a cell phone which violate 47 USC 227(b). The calls by

       Jeff Lakes and his entities violated Texas law by placing calls with a pre-recorded

       message to a cell phone which violate 47 USC 227(c)(5).

   56. The calls by Jeff Lakes violated Texas law by spoofing the caller ID s per 47 USC

       227(e) which in turn violates the Texas statute.


                                I. FIRST CLAIM FOR RELIEF

       (Non-Emergency Robocalls to Cellular Telephones, 47 U.S.C. § 227(b)(1)(A))

                                   (Against A Defendants)

           1. Mr. Cunningham realleges and incorporates by reference each and every

   allegation set forth in the preceding paragraphs.

          2. The foregoing acts and omissions of Defendants and/or their affiliates or

   agents constitute multiple violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by making

   non-emergency telemarketing robocalls to Mr. Cunningham s cellular telephone number

   without his prior express written consent.


          3. Mr. Cunningham is entitled to an award of at least $500 in damages for

   each such violation. 47 U.S.C. § 227(b)(3)(B).
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          4.       Mr. Cun ingham is entitled to an award of up to $1,500 in damages for

   each such knowing or willful violation. 47 U.S.C. § 227(b)(3).

           5. Mr. Cunningham also seeks a permanent injunction prohibiting

   Defendants and their affiliates and agents from making non-emergency telemarketing

   robocalls to cellular telephone numbers without the prior express written consent of the

   called party.


                               n. SECOND CLAIM FOR RELIEF

          (Telemarketing Without Mandated Safe uards, 47 C.F.R. § 64.1200(d))

                                    (Against All Defendants)

          6. Mr. Cunningham realleges and incorporates by reference each and every

   allegation set forth in the preceding paragraphs.

          7. The foregoing acts and omissions of Defendants and/or their affiliates or

   agents constitute multiple violations of FCC regulations by making telemarketing

   solicitations despite lacking:

                   a. a written policy, available upon demand, for maintaining a do-not-

   call list, in violation of 47 C.F.R. § 64.1200(d)(1);2

                   b. training for the individuals involved in the telemarketing on the

   existence of and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2);3 and,




   2 See id. at 425 (codifying a June 26, 2003 FCC order).
   3 See id. at 425 (codifying a June 26, 2003 FCC order).
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                   c. in the solicitations, the name of the individual caller and the name

    of the person or entity on whose behalf the call is being made, in violation of 47 C.F.R. §

    64.1200(d)(4).4

           8. Mr. Cunningham is entitled to an award of at least $500 in damages for

    each such violation. 47 U.S.C. § 227(c)(5)(B).

           9. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    each such knowing or willful violation. 47 U.S.C. § 227(c)(5).

           10. Mr. Cunningham also seeks a permanent injunction prohibiting

    Defendants and their affiliates and agents from making telemarketing solicitations until

    and unless they (1) implement a do-not-call list and training thereon and (2) include the

    name of the individual caller and AFS s name in the solicitations.



           HI.THIRD CLAIM FOR RELIEF: Violations of The Texas Business and

                                    Commerce Code 305.053


           11. Mr. Cunningham realleges and incorporates by reference each and every

   allegation set forth in the preceding paragraphs.

           12. The foregoing acts and omissions of Defendants and/or their affiliates or

   agents constitute multiple violations of the Texas Business and Commerce Code

   305.053, by making non-emergency telemarketing robocalls to Mr. Cunningham s

   cellular telephone number without his prior express written consent in violation of 47

   USC 227 et seq.




   4 See id. at 425 - 26 (codifying a June 26, 2003 FCC order).
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             13. Mr. Cunningham is entitled to an award of at least $500 in damages for

    each such violation.Texas Business and Commerce Code 305.053(b)

             14. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    each such knowing or willful violation. Texas Business and Commerce Code

    305.053(c).


                                    IV. PRAYER FOR RELIEF

             WHEREFORE, Plaintiff Craig Cunningham prays for judgment against

    Defendant Jeff Lakes, Cori L Marx, Ramsey Debt Relief, LLC, aka Ramsey Services,

    LLC, National Consolidated Services, LLC, Chandler Construction, LLC, jointly and

    severally as follows:

             A. Leave to amend this Complaint to name additional DOESs as they are

    identified and to conform to the evidence presented at trial;

             B. A declaration that actions complained of herein by Defendants violate the

    TCPA and Texas state law;

             C. An injunction enjoining Defendants and their affiliates and agents from

    engaging in the unlawful conduct set forth herein;

             D. An award of $3000 per call in statutory damages arising from the TCPA

    intentional violations jointly and severally against the corporation and individual for 30

    calls.


             E. An award of $1,500 in statutory damages arising from violations of the

    Texas Business and Commerce code 305.053

             F. An award to Mr. Cunningham of damages, as allowed by law under the

    TCPA;
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           G.     An award to Mr. Cunningham of interest, costs and attorneys fees, as

    allowed by law and equity

           H. Such further relief as the Court deems necessary, just, and proper.




    Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075


    October 16, 2018
